                         Case 3:23-mj-00185            Document 1         Filed 10/23/23        Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                       District
                                                 __________     of Oregon
                                                            District of __________

                  United States of America                         )
                             v.                                    )
                                                                   )      Case No. 3:23-mj-185
                  Joseph David Emerson                             )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)
                            CRIMINAL COMPLAINT
              %<7(/(3+21(2527+(55(/,$%/((/(&7521,&0($16
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                  October 22, 2023              in the county of Clatsop,Columbia,Washingtn in the
                       District of            Oregon           , the defendant(s) violated:

            Code Section                                                     Offense Description
49 U.S.C. § 46504                               Interference with Flight Crew Members and Attendants




         This criminal complaint is based on these facts:
see attached affidavit




         ✔ Continued on the attached sheet.
         u

                                                                                                   (by phone)
                                                                                              Complainant’s signature

                                                                                 Special Agent Tapara Simmons, Jr., FBI
                                                                                               Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3E\
               [[[
WHOHSKRQHDWBBBBBBBBDPSP

Date:      2FWREHU
                                                                                                 Judge’s signature

City and state:                         Portland, Oregon                               The Honorable Youlee Y. You
                                                                                               Printed name and title
